        Case 2:18-cv-10542-LJM-EAS ECF No. 18 filed 05/15/18                                PageID.607     Page 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                                for the
                                                  Eastern District of Michigan



Joel Vangheluwe, et al.

                                                                             Civil Action No. 18-10542
                                                   Plaint jff

                                       V.

GotNews, LLC, et al.                                                         Hon. Laurie J. Michelson


                                                  Defendant.

                                                 SUMMONS IN A CIVIL ACTION

To:        Gavin McInnes



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and
address are:
              Raechel M. Badalamenti
              Kirk and Huth
              19500 Hall Road
              Suite 100
              Clinton Township, MI 48038


       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID .1. WEAVER, CLERK OF COURT                                By: s/D.Peruski
                                                                    Signature of Clerk or Deputy Clerk

                                                                     Date of Issuance: February 15, 2018
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                                        Summons and Complaint Return of Service

                                                                             Case No. 18-10542
                                                                             Hon. Laurie J. Michelson

                           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

          This summons for (name of individual and title, if any) Gavin Mel nnes
     was received by me on (date)     A- Y          /ll       1
                                                                  I t/1
                                                        '2. O{ <f-=.=:..:::..:....:..:.:==--------------

                )(1 personally served the summons on the individual at (place)           f1J.12./~ ;fve...t?tle 1 /_c,.~flttn~
                 tJ -Y                                                       on (date) lho/ t.J wtr; or
                                                                                               1
                   a    I left the summons at the individual's residence or usual place of abode with (name)
                                                                                                                                 ----------------
                                                                              ' a person of suitable age and discretion who resides there,
                  ----------------------------
                    on (date)                                     , and mailed a copy to the individual's last known address; or

                    a    I served the summons on (name ofindividuaQ                                                                          ,who is
                                                                      --------------------------------
                     designated by law to accept service of process on behalf of (name of organization)
                                                                                                on (date)                            ; or
                                                                                                              -------------
                    CJ I returned the summons unexecuted because                     _____________________________________ ;or

                    0 Other (specify):



                 My fees are$                                     for travel and $                 for services, for a total of$
                                          ---        - --                            ---------



      Date:
                '¢J?'ty                             ofp.,jury that this infonnation is    '71     ~~ ~
                                                                                                            Server's signature

                                                                               412 fl.J rt-tJ' f:> E d1-IL.L<J fMeess ~11 Lk/L
                                                                                                       Printed name and title



                                                                          /tJO BJ~~~                             ~ /S?J; bihrfe ;1/t(/nf ~ /r£4:
                                                                                                             S~rver 's address

 Additional infonnation regarding attempted service, etc:
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